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                                                                                                     FILED
                                                                                          John E. Triplett, Acting Clerk
                                                                                           United States District Court

                                                                                       By CAsbell at 8:56 am, Dec 31, 2020

                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF GEORGIA
                               BRUNSWICK DIVISION


    UNITED STATES OF AMERICA,

                                                               CASE NO.: 2:20-cr-32

         v.

    WALTER JOHNSON, III,

                 Defendant.


                                              ORDER

        Defendant was indicted for possession of contraband in prison, in violation of 18 U.S.C.

§ 1791(a)(2). Doc. 1. I sentenced Defendant to serve one month in prison, consecutively to

any term he was then serving. Doc. 27. Defendant has now filed a Motion for Compassionate

Release or to Reduce Sentence. Doc. 29. The United States filed a Motion for Extension of

Time to respond to Defendant’s Motion, doc. 30, which the Court DENIES as moot. The

United States also filed a timely Response to Defendant’s Motion, and Defendant filed a Reply.

Docs. 31, 33.

        In his Motion, Defendant states the COVID-19 pandemic and his high-risk medical

conditions warrant relief under 18 U.S.C. § 3582(c)(1)(A), as amended by the First Step Act of

2018. Doc. 29 at 1. Defendant notes the Bureau of Prisons has already denied his request for

compassionate release, concluding Defendant meets the Centers for Disease Control and

Prevention (“CDC”) criteria for people at high risk for severe COVID infection, but Defendant

has detainers and is not appropriate for home confinement. 1 Id. at 2.


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        Defendant urges the Court to adopt the Bureau of Prisons’ view he is at a high risk of severe
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       The Government avers Defendant has not shown he is entitled to relief under U.S.S.G.

§ 1B1.13(2) and 18 U.S.C. § 3553(a). Doc. 31 at 1, 12, 13. And even if Defendant did meet

these criteria, the United States maintains this Court should exercise its discretion and deny

Defendant’s Motion. Id. at 14.

       Upon review, the Court DENIES Defendant’s Motion. Defendant contends his Motion

should be granted because he suffers from hypertension and is overweight. The CDC lists these

ailments as conditions that “might” place a person with COVID-19 “at an increased risk for

severe illness.” See Centers for Disease Control, People with Certain Medical Conditions,

available at www.cdc.gov/coronavirus/2019-ncov/need-extra-precautions/people-with-medical-

conditions.html (last visited Dec. 31, 2020). However, at this point, ailments in the “might”

category do not qualify as illnesses sufficiently serious to warrant compassionate release.

Defendant bears the burden of establishing he is uniquely positioned to be so adversely affected

by COVID-19 that his release is warranted. Defendant has not done so. Therefore, Defendant

has not shown “extraordinary and compelling” circumstances entitling him to his requested

relief. Even if Defendant had shown such circumstances, the Court would nevertheless deny his

Motion, in the exercise of its discretion.

       SO ORDERED, this 31st day of December, 2020.




                                       ____________________________________
                                       BENJAMIN W. CHEESBRO
                                       UNITED STATES MAGISTRATE JUDGE
                                       SOUTHERN DISTRICT OF GEORGIA

infection. However, the Court is not bound to do so. Furthermore, the Government demonstrates
Defendant’s conditions qualify only as conditions that “might” place Defendant at an increased risk of
serious infection, based on CDC guidance. Defendant ultimately recognizes his hypertension and weight
qualify as conditions that “might” place him at increased risk. Doc. 33 at 3.


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